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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION


 STATE OF MONTANA,                                      CV 16–35–H–DLC

                      Plaintiff,

        vs.                                                  ORDER

 TALEN MONTANA, LLC, f/k/a PPL
 Montana, LLC, and NORTHWESTERN
 CORPORATION, d/b/a NorthWestern
 Energy, a Delaware corporation, and
 UNITED STATES OF AMERICA,
 United States Forest Service, United
 States Bureau of Reclamation, and United
 States Bureau of Land Management,

                      Defendants.

      Before the Court are the parties’ Joint Motion to Direct Court Personnel to

Establish a Live, Non-Public Video Feed of Trial (Doc. 327) and Joint Motion to

Allow Witnesses to Testify by Videoconference (Doc. 328).

      The motion for a live, non-public video feed of trial states that such a feed

would allow witnesses to observe trial remotely while they are not testifying,

alleviating the risks of COVID-19 exposure and expenses and inconveniences of

attending the entire trial in-person for witnesses who reside outside of Montana.

(Doc. 327 at 3–4.) The Court is sympathetic to these concerns, but it is the Court’s

experience that maintaining a video feed of trial can present technical and other
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difficulties that may disrupt proceedings and present challenges for Court staff.

Accordingly, the Court will establish live non-public telephonic access to the trial

so that witnesses may listen to trial testimony, but the motion for a live video feed

(Doc. 327) will be denied.

      The motion to permit witnesses to testify by videoconference states that Dr.

Michael Harvey wishes to testify by videoconference because he resides in New

Zealand, and evolving travel restrictions could prevent Dr. Harvey from returning

to New Zealand if he were to travel to testify in person. (Doc. 328 at 3.) The

motion further states that “other witnesses may also be forced to testify by

videoconference by the time of trial” based on evolving COVID-19 concerns and

required travel from outside Montana, and the parties will inform the Court at the

final pretrial conference of the identity of any additional witnesses who wish to

testify by videoconference. (Id. at 3–4.) The parties have shown good cause for

permitting Dr. Harvey to testify by videoconference, and the motion will be

granted in part as to him. The Court will not, however, grant blanket permission

for yet-to-be-identified witnesses to testify by videoconference in the absence of

reasons why specific witnesses cannot appear in person. To the extent that

exposure to COVID-19 in the courtroom is a primary concern of the parties, the

Court advises that implementation of COVID-19 safety measures during trial, such

as requiring social distancing and/or masks in the courtroom, may be discussed at

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the final pretrial conference. Thus, as to all witnesses other than Dr. Harvey, the

motion to allow witnesses to testify by videoconference (Doc. 328) will be denied

subject to renewal.

       Accordingly, IT IS ORDERED that the parties’ Joint Motion to Direct Court

Personnel to Establish a Live, Non-Public Video Feed of Trial (Doc. 327) is

DENIED. The Court will instead establish live non-public telephonic access to the

trial so that witnesses may listen to the trial. The Clerk of Court will notify

counsel via e-mail of the conference line information within 24 hours of the first

day of trial.

       IT IS FURTHER ORDERED that the parties’ Joint Motion to Allow

Witnesses to Testify by Videoconference (Doc. 328) is GRANTED IN PART as to

Dr. Michael Harvey and DENIED IN PART subject to renewal as to all other

witnesses. Dr. Michael Harvey may testify via Zoom at the trial. The Clerk of

Court will notify counsel via e-mail of the meeting ID and password. Zoom

Guidance and Setup are available at https://www.mtd.uscourts.gov/zoom-hearings.

       DATED this 2nd day of December, 2021.




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